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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

  UNITED STATES OF AMERICA                   )
                                             )       No. 2:07 CV 39
                v.                           )
                                             )       (arising from 2:02 CR 44)
  TERENCE DILWORTH                           )

                                    OPINION and ORDER

         This matter is before the court on Terence Dilworth’s motion under

  28 U.S.C. § 2255 and the memorandum he filed in support. (Cause No. 2:02 CR 39, DE

  # 402, 403; Cause No. 2:07 CV 39, DE # 1, 2.) The court ordered the government to

  respond to Dilworth’s collateral attack (DE # 412), and it did. (DE # 414.) Dilworth then

  filed a reply. (DE # 435.) The court now DENIES Dilworth’s motion.

  I. BACKGROUND

         A jury found Dilworth guilty of one count of conspiracy to distribute 50 grams or

  more of cocaine base, and two counts of distribution of cocaine base. (DE # 154.) This

  court subsequently sentenced him to serve 360 months in prison for each count, the

  sentences to run concurrently. (DE # 244.)

         Dilworth appealed, and the Seventh Circuit ordered a partial remand to

  determine whether this court would have imposed the same sentence in light of the

  discretion granted to it by United States v. Booker, 543 U.S. 220 (2005). See United States v.

  Price, 418 F.3d 771 (7th Cir. 2005); (DE # 360.) This court then held that even with the

  discretion granted under Booker, it would have imposed the same sentence on Dilworth.
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  (DE # 365.) The Seventh Circuit then affirmed. See United States v. Dilworth, 168 Fed.

  Appx. 89 (7th Cir. 2006).

         Dilworth now attacks his sentence under § 2255, claiming that:

         (1)    his Sixth Amendment rights were violated because the judge, rather than
                the jury, found that he

                (A)     distributed crack cocaine as opposed to some other form of cocaine
                        base,

                (B)     distributed more than 1.5 kilograms of crack, and

                (C)     used a dangerous weapon as part of his drug trafficking;

         (2)    his appellate counsel was ineffective for failing to argue that the court
                incorrectly calculated his criminal history score;

         (3)    his trial counsel was ineffective for failing to:

                (A)     object to his being sentenced for distributing crack, rather than
                        cocaine base,

                (B)     investigate if one of his prior convictions was valid,

                (C)     note disparity between his sentence and the sentences of his co-
                        conspirators after his case was remanded, and

                (D)     continue sentencing so he could review his presentencing
                        investigation report for a full ten days;

         (4)    the court relied on an unproven state court conviction when calculating
                his criminal history score; and

         (5)    he was denied his right under statute to look at his presentence
                investigation report for a full ten days before his sentencing hearing.

  (DE # 403 at 1-17.)




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  II. ANALYSIS

         A motion under § 2255 allows a federal prisoner “in custody . . . claiming a right

  to be released” to attack his sentence on the grounds that it was imposed “in violation

  of the Constitution or laws of the United States, or that the court was without

  jurisdiction . . . or that the sentence was in excess of the maximum authorized by law, or

  is otherwise subject to collateral attack.” 28 U.S.C. § 2255 ¶ 1. As discussed below, this

  court rejects Dilworth’s attacks on his sentence, and denies his motion.

         A. Dilworth’s Sixth Amendment Claims

         In his claim (1), Dilworth argues that the court violated his Sixth Amendment

  right to a trial by jury, as explicated by Apprendi v. New Jersey, 530 U.S. 466, 490 (2000),

  when it made factual findings during his sentencing and used those findings to enhance

  his sentence. (DE # 402 at 4; DE # 402 at 1-3.) Dilworth misunderstands the law, and his

  claim is denied.

         This court sentenced Dilworth during the period of time after the Supreme Court

  issued its decision in Apprendi but before the Court decided United States v. Booker, 543

  U.S. 220 (2005). Booker held that the sentencing guidelines, as applied, were

  unconstitutional, because the sentencing guidelines range derived from the unadjusted

  base offense level served as the statutory maximum, and a district court could increase

  this range and the base offense level by making its own factual findings, in addition to

  those found by the jury. Booker, 543 U.S. at 231-36. In sentencing Dilworth—again,

  before Booker was decided—this court made additional factual findings that increased


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  Dilworth’s base offense level and corresponding guidelines range and sentence.

  Therefore, in doing so, the court violated the precepts of Apprendi and Dilworth’s Sixth

  Amendment rights.

         As a result, on direct appeal, the Seventh Circuit remanded Dilworth’s case, in

  accordance with United States v. Paladino, 401 F.3d 471, 483-484 (7th Cir. 2005),

  instructing this court to determine whether it would have given Dilworth the same

  sentence, knowing that the guidelines were advisory. See Price, 418 F.3d at 787. That is,

  the Seventh Circuit recognized that the manner in which Dilworth’s sentence was

  imposed violated the Sixth Amendment, and asked this court to determine whether it

  would have given the same sentence if it had known that the guidelines were advisory.

  See id. This court concluded it would have imposed the same sentence even if the

  guidelines had been advisory. (DE #365.) The Seventh Circuit then held that, since

  Dilworth would have received the same sentence, the Sixth Amendment violation did

  not constitute plain error. See Dilworth, 168 Fed. Appx. at 91-92.

         Dilworth’s present claims raise the same issue that was addressed and rejected

  by the Seventh Circuit on his direct appeal. This court cannot reconsider a claim that

  has already been addressed in this litigation. United States v. Story, 137 F.3d 518, 520 (7th

  Cir. 1998) (“under the law of the case doctrine, when a court decides upon a rule of law,

  that decision should continue to govern the same issues in subsequent stages of the

  same case”); United States v. Mazak, 789 F.2d 580, 581 (7th Cir. 1986) (when a claim was

  raised on direct appeal and rejected by the court of appeals, that claim cannot be


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  relitigated in a Section 2255 motion “unless an intervening change in law or some other

  special circumstance” warrants a reexamination of the issue).

         Furthermore, the court’s actions would have been proper under post-Booker

  procedure. Specifically, “Booker clearly permits a district court to grant a sentencing

  enhancement based on facts not charged in the indictment, not proven to a jury beyond

  a reasonable doubt or not admitted by the defendant.” United States v. Owens, 441 F.3d

  486, 490 (7th Cir. 2006). That is what occurred in this case – this court enhanced

  Dilworth’s sentence after finding that the “cocaine base” he distributed and conspired

  to distribute was, in fact, crack cocaine, that he distributed more than 1.5 kilograms of

  crack, and that he used a dangerous weapon while committing his crimes.

         In sum, Dilworth’s Sixth Amendment rights were violated, but as the Seventh

  Circuit has previously explained, see Dilworth, 168 Fed. Appx. at 91 n.1, the violation did

  not satisfy the plain error test because Dilworth cannot show he was prejudiced. These

  claims are denied.

         B. Dilworth’s Criminal History Score Claims

         In his claim (2), Dilworth alleges that his counsel was ineffective on appeal for

  failing to argue that this court improperly calculated his criminal history score. He also

  argues, in his claim (4), that the court miscalculated his criminal history score by

  including a criminal conviction that the government did not properly evince. Since

  these claims stem from the same underlying facts, the court will consider them together.




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         Before Dilworth’s sentencing hearing, this court received a presentence report

  (PSR) prepared by the United State Probation Office. The PSR disclosed that Dilworth

  had two prior misdemeanor convictions, one for unlicensed gun possession, and

  another for marijuana possession, with each conviction counting as one point in

  Dilworth’s criminal history score. According to the report, both convictions came after

  proceedings in the Gary City Court, in Gary, Indiana. At his sentencing, Dilworth’s

  counsel objected to the court using his gun possession conviction in its calculation of

  Dilworth’s criminal history score. In response, the government called U.S. Probation

  Officer Melissa Page, who testified that she learned about the gun possession conviction

  through a report on the FBI’s National Crime Information Center (NCIC) system. To get

  such a report, she entered Dilworth’s name, social security number, and date of birth

  into an electronic database. She then received a record showing Dilworth’s conviction

  for the gun possession charge, with additional information to help connect the

  conviction to Dilworth, including records of his fingerprints. Page also testified that she

  had recently learned that Dilworth’s gun possession conviction actually occurred in the

  Lake County Court, not the Gary City Court, and she had only discovered a few hours

  before the hearing that Dilworth had objected to the information in the PSR regarding

  the gun possession conviction. Page explained that after she learned of Dilworth’s

  objection she had contacted the clerk of the Lake County Court, seeking records of

  Dilworth’s conviction, but that the clerk had not gotten back to her in time for her to

  present the records at the hearing. This court then found, by a preponderance of the


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  evidence, that Dilworth had been convicted of gun possession, and relied on that

  conviction in calculating his criminal history score.

         Dilworth now claims that the conviction for gun possession was not properly

  documented by the government. However, Dilworth failed to raise this claim on either

  of his two direct appeals, and thus procedurally defaulted it. See Menzer v. United States,

  200 F.3d 1000, 1005 (7th Cir. 2000) (failure to raise a claim on direct appeal that is based

  on evidence available at the time bars claim from consideration on § 2255 motion). To

  overcome procedural default, Dilworth would need to show cause for the default and

  resulting prejudice. See Galbraith v. United States, 313 F.3d 1001, 1006 (7th Cir. 2002)

  (“[w]hen an issue is not raised on direct appeal, but later attacked collaterally . . . the

  petitioner will be barred from collateral review unless he can show good cause for

  failing to raise the issue and actual prejudice”).

         But Dilworth fails to show prejudice, because it was clear to this court, that had

  Dilworth raised his objection earlier, instead of immediately before his sentencing

  hearing, the government would have produced records of his conviction for gun

  possession. Probation Officer Page contacted the Lake County Court for such records,

  and would have been able to get them given enough notice, as demonstrated by the fact

  that the records have now been acquired by the government. (DE # 441-2.) In addition,

  Page also entered information specific to Dilworth, including his date of birth and social

  security number into the NCIC system, which revealed Dilworth’s gun possession

  conviction. Other circuits have found that NCIC reports, standing alone, are conclusive


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  evidence of prior convictions for sentencing purposes. See United States v. Urbina-Mejia,

  450 F.3d 838, 839-40 (8th Cir. 2006); United States v. Martinez-Jimenez, 464 F.3d 1205,

  1209-12 (10th Cir. 2006). Dilworth’s claim (4) is denied.

         Dilworth’s claim of ineffective assistance of appellate counsel, for failing to raise

  his claim (4), meets a similar fate. To succeed on such a claim, Dilworth “would have to

  demonstrate: (1) that his counsel’s performance was so deficient as to fall below an

  objective standard of reasonableness under ‘prevailing professional norms;’ and (2) that

  the deficient performance so prejudiced the defense as to deny the defendant a fair

  trial.” Lee v. Davis, 328 F.3d 896, 900-01 (7th Cir. 2003) (quoting Strickland v. Washington,

  466 U.S. 668, 687-88 (1984)). “The failure of appellate counsel to raise an issue on appeal

  requires the court to compare the issue not raised in relation to the issues that were

  raised; if the issue that was not raised is ‘both obvious and clearly stronger’ than the

  issues raised, the appellate counsel's failure to raise the neglected issue is objectively

  deficient.” Lee, 328 F.3d at 900-01 (citing Winters v. Miller, 274 F.3d 1161, 1167 (7th Cir.

  2001); Williams v. Parke, 133 F.3d 971, 974 (7th Cir. 1997)). Under this comparative

  standard, “counsel is not required to raise every non-frivolous issue on appeal.” Martin

  v. Evans, 384 F.3d 848, 852 (7th Cir. 2004) (citing Mason v. Hanks, 97 F.3d 887, 893 (7th

  Cir. 1996)). Indeed, “a lawyer may limit appellate arguments to those that in his best

  judgment would do more good than harm.” United States v. Knox, 287 F.3d 667, 671 (7th

  Cir. 2002). “Prejudice is established if the issue not raised ‘may have resulted in a

  reversal of the conviction or an order for a new trial.’” Lee, 328 F.3d at 901 (quoting


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  Winters, 274 F.3d at 1167). “This means there must be a reasonable probability that the

  issue not raised would have altered the outcome of the appeal had it been raised.” Lee,

  328 F.3d at 901.

         Dilworth does not argue that this claim was clearly stronger than those raised on

  appeal by his counsel, claims which, in fact, resulted in the case being remanded. See

  Price, 418 F.3d at 771; (DE # 360.) Thus, he fails to demonstrate that he received deficient

  performance. Furthermore, Dilworth fails to show, or even argue, that he suffered

  prejudice, asserting instead that his counsel owed him “a duty of loyalty . . . and a duty

  to advocate [his] cause.” (DE # 403 at 8.) Even if Dilworth were to make the proper

  argument, there is no dispute that Dilworth was in fact convicted of gun possession,

  and that Parole Officer Page would have been able to acquire the original records of

  that conviction, had Dilworth objected in a more timely manner. Indeed, the

  government has filed a copy of the Lake County Court’s record of Dilworth’s gun

  possession conviction. (D.E. # 441-2.) Even if appellate counsel had raised this issue and

  succeeded in obtaining direction from the Court of Appeals that it be considered during

  the remand for re-sentencing (which the court doubts would have occurred), the

  government would have introduced the records from Lake County. Thus, Dilworth fails

  to show that he was prejudiced by his counsel’s failure to raise his claim (4) on direct

  appeal. This claim, Dilworth’s claim (2), is denied.




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        C. Dilworth’s Ineffective Assistance of Counsel Claims

        Dilworth’s claim (3) alleges that he received ineffective assistance of trial counsel

 at sentencing, based on his counsel’s alleged failure to (A) object to his sentencing based

 on distribution of crack rather than cocaine, (B) investigate whether his handgun

 possession conviction was valid, (C) note on remand the disparity between his co-

 conspirators’ sentences and his own, and (D) continue the sentencing hearing so

 Dilworth could further review the PSR. (DE# 403 at 9-13.)

        The two-pronged test set forth by Strickland v. Washington, 466 U.S. 668 (1984)

 governs ineffective assistance of counsel claims. First, the “defendant must show that

 the performance of counsel fell outside the ‘range of competence demanded of

 attorneys in criminal cases’ – i.e., that it ‘fell below an objective standard of

 reasonableness.’” Barrow v. Uchtman, 398 F.3d 597, 603 (7th Cir. 2005) (quoting

 Strickland, 466 U.S. at 687). Courts must begin with the strong presumption that counsel

 provided competent representation. Id. Second, the defendant must show that he

 suffered prejudice as a result of his counsel’s ineffectiveness. Barrow, 398 F.3d at 603. In

 other words, the defendant must demonstrate “a reasonable probability that, but for

 counsel’s unprofessional error, the result of the proceeding would have been different.

 A reasonable probability is a probability sufficient to undermine confidence in the

 outcome.” Strickland, 466 U.S. at 694. The court should deny an ineffective assistance of

 counsel claim if the defendant makes an insufficient showing on either prong.




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 Strickland, 466 U.S. at 697. The court may assess the prongs in whichever order it

 chooses. Id.

        Dilworth’s ineffective assistance of counsel claims do not merit relief. To begin,

 Dilworth fails to demonstrate prejudice on his claim that his counsel should have

 objected to his being sentenced for distributing crack cocaine, when he was found guilty

 of distributing “cocaine base.” There was overwhelming evidence presented at trial that

 Dilworth distributed crack, including a videotape of Dilworth selling crack to a

 government informant. Further, in this case, “cocaine base” was used as a synonym for

 crack, which reflects its use in federal statutes. See 21 U.S.C. § 841(b)(1)(A)(iii) (referring

 to a “mixture or substance . . . which contains cocaine base”). Dilworth was convicted of

 distributing and conspiring to distribute crack, and it was therefore not an error to

 sentence him accordingly. Dilworth cannot show prejudice for his counsel’s failure to

 object to his sentence on that ground, and his counsel was not ineffective for failing to

 make such an objection.

        Dilworth also fails to show prejudice for his counsel’s failure to investigate

 whether his conviction for gun possession was valid. Dilworth has never denied that he

 was, in fact, convicted of possessing an unlicensed hand gun. He merely questions what

 an investigation might have revealed. Speculating about what an attorney’s

 investigation might have revealed does not satisfy a defendant’s burden under

 Strickland to show prejudice. United States v. Trager, 289 F.3d 461, 472 (7th Cir. 2002) (“[a]

 defendant's speculation about what evidence might have been found is insufficient to


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 demonstrate prejudice-he must show what the evidence would have been and how it

 would have produced a different result”). And, in fact, the government has

 demonstrated that Dilworth did have a conviction for unlicensed gun possession. (See

 DE # 441-2.) Dilworth comes nowhere close to demonstrating prejudice on this claim.

        As his third ground for ineffective assistance, Dilworth argues that, on remand,

 his counsel should have argued that his sentence was unfair in light of the more lenient

 sentence given to his co-defendant, Wiley Johnson. (DE # 403 at 11-12.) This argument

 fails because Johnson’s comparatively lighter sentence of 200 months’ imprisonment

 was vacated on appeal, see United States v. Johnson, 193 Fed. Appx. 630 (7th Cir. 2006),

 and Johnson then received the exact same sentence as Dilworth—360 months. It was

 reasonable for counsel not to demand that Dilworth’s sentence resemble Johnson’s,

 when Johnson’s sentence was legally flawed. Thus, Dilworth’s counsel was not deficient

 for avoiding that strategy. Furthermore, Dilworth fails to demonstrate prejudice. As this

 court has stated previously, Dilworth’s sentence was “reasonable, appropriate, and

 sufficient, but not greater than necessary, to comply with the sentencing purposes” set

 out in the governing federal statutes. (DE # 365 at 3.) There is no reasonable probability

 that pointing out his co-conspirator’s receipt of an erroneously low sentence would

 have convinced this court to lower Dilworth’s. Dilworth’s counsel was not ineffective

 for failing to make this argument on remand.

        Finally, Dilworth argues that his counsel was ineffective for not moving to delay

 the sentencing hearing so Dilworth could more fully review the PSR. (DE # 403 at 13.)


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 But Dilworth fails to explain what he would have done with more time to review the

 report before his sentencing. By failing to articulate any reason why having more time

 to review the PSR would have helped him, he fails to satisfy either of Strickland’s

 prongs. This claim is denied.

        E. Dilworth’s Claim of Insufficient Time to Review the PSR

        Dilworth’s final claim is that he received the PSR prepared by the U.S. Probation

 Office only four days before his sentencing hearing. (DE # 403 at 5-6.) 18 U.S.C. §

 3552(d) requires a PSR to be given at least ten days before a defendant’s sentencing

 hearing. However, Dilworth waived this claim by failing to move to continue the

 sentencing hearing. Furthermore, Dilworth has not identified any new objections or

 issues that he would have raised at the hearing had he been given more time to review

 the PSR. Thus, the rule violation is harmless.

        For the reasons given above, Dilworth’s motion pursuant to § 2255 is DENIED,

 and the associated civil case is DISMISSED. The clerk shall enter final judgment

 accordingly, and give immediate notice to Dilworth.

                                           SO ORDERED.

        ENTER: November 7, 2007

                                            s/ James T. Moody
                                           JUDGE JAMES T. MOODY
                                           UNITED STATES DISTRICT COURT
